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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Vv. Case No. 1:21-CR-690-RCL

PHILIP SEAN GRILLO,

Defendant.

ORDER
On November 21, 2023, the Court issued a Memorandum Order in this case that was filed
under seal. ECF No. 94. In the same Order, the Court directed the parties to identify their proposed
redactions to the Order, if any, by Monday, November 27, 2023, so that the Court could file a
redacted version on the public docket. Neither Mr. Grillo nor the government filed any proposed
redactions. Accordingly, the Court hereby ORDERS that the Court’s Memorandum Order,
ECF No. 94, be immediately unsealed.

IT IS SO ORDERED.

Date: July_if , 2024 “Cee C- Linwltte
Royce C. Lamberth
United States District Judge

